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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KATHRYN TOWNSEND GRIFFIN, THE ESTATE
OF CHERRIGALE TOWNSEND and THE HELEN
CHRISTINE TOWNSEND MCDONALD TRUST

                      Plaintiffs,                        ECF CASE

              -against-                                  17-cv-5221 (LLS)

EDWARD CHRISTOPHER SHEERAN, p/k/a ED                     DECLARATION OF DONALD S.
SHEERAN, ATLANTIC RECORDING                              ZAKARIN IN SUPPORT OF
CORPORATION, d/b/a ATLANTIC RECORDS,                     DEFENDANTS’ SEVENTH
SONY/ATV MUSIC PUBLISHING, LLC, and                      MOTION IN LIMINE
WARNER MUSIC GROUP CORPORATION, d/b/a
ASYLUM RECORDS

                      Defendants.


       I, DONALD S. ZAKARIN, declare as follows:

       1.     I have personal knowledge of, and am fully familiar with, the facts set forth in this

Declaration, which I respectfully submit in support of the Seventh Motion In Limine filed by

Defendants Edward Christopher Sheeran (“Sheeran”), Atlantic Recording Corporation (“Atlantic”)

and Sony/ATV Music Publishing LLC (n/k/a Sony Music Publishing (US) LLC) (“SMP,” together

with Atlantic and Sheeran, the “Defendants” and each a “Defendant”), which seeks an Order

precluding Plaintiffs from introducing at trial their proposed performance of the Let’s Get It On

Deposit Copy as recorded on Audio Exhibit 1 and Audio Exhibit 2, which Audio Exhibits are

annexed to this Declaration. Exhibit 1 and Exhibit 2 correspond, respectively, to what Plaintiffs

have labeled as “Track 01” and “Track 02.”

       2.     Annexed as Audio Exhibit 3, Audio Exhibit 4, and Audio Exhibit 5 are copies of

the Computer Audio Files (as such term is defined in the accompanying Memorandum of Law).




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         3.      Audio Exhibit 3 includes computerized vocals to realize the melody notated in the

Deposit Copy and features piano playing the chords notated in the Deposit Copy.

         4.      Audio Exhibit 4 includes the same computerized vocals from Audio Exhibit 3 to

realize the melody notated in the Deposit Copy and features guitar (in lieu of piano) playing the

chords notated in the Deposit Copy.

         5.      Finally, Audio Exhibit 5 includes the left hand of the piano, in lieu of vocals, to

realize the melody notated in the Deposit Copy and features piano (the right hand of the piano)

playing the chords notated in the Deposit Copy.

         6.      Audio Exhibits 3-5 are all performed at a tempo of 160 beats per minute.

         7.      Digital copies of the Audio Exhibits will be furnished to Chambers and also may

be       accessed     at     the    following      URL:      https://pryorcashman.sharefile.com/d-

se308824e49584ca6a817c29ccec18aa5.1

         I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Dated: February 24, 2023



                                                              ______________________________
                                                                  DONALD S. ZAKARIN




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    This URL will expire in 180 days.
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